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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


DAVID GILMOUR MUSIC LTD.,
                                                          Case No.: 1:18-cv-05777
        Plaintiff,
                                                          Judge Andrea R. Wood
v.
                                                          Magistrate Judge Sheila M. Finnegan
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on October 17, 2018 [35], in favor

of Plaintiff and against the Defendants Identified in Amended Schedule A. Plaintiff acknowledges

payment of an agreed upon damages amount, costs, and interest and desires to release this

judgment and hereby fully and completely satisfy the same as to the following Defendants:

               NO.                             DEFENDANT
                31                               chenping92
                55                               mingyouer
                61                             qiushuiwanqian
                33                            chunchunxiaopu



       THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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